            Case 5:18-cv-02157-JLS Document 6 Filed 05/30/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ST. LUKE'S HEALTH NETWORK, INC. eta!.,               )
Individually and on behalf of all others similarly   )
situated,                                            )      Civil Action No. 18-cv-02157-JLS
                                                     )
                              Plaintiffs,            )
                                                     )
               v.                                    )
                                                     )
LANCASTER GENERAL HOSPITAL, et al.,                  )
                                                     )
                              Defendants.            )


                                             ORDER
                         30th
        AND NOW, on this _ _ day of _May
                                     _ _ _ _ , 2018, upon consideration of the

Motion pursuant to Local Rule of Civil Procedure 83.5(2)(b), for the admission of Brian W.

Barnes, Esquire to this Court pro hac vice as counsel for Plaintiffs, it is hereby ORDERED and

DECREED that said Motion is GRANTED.



                                                         BY THE COURT:



                                                           /s/Jeffrey L. Schmehl
                                                         Honorable Jeffrey L. Schmehl, U.S.D.J.
